     Case 8:15-cv-02034-JVS-JCG Document 1072 Filed 11/12/20 Page 1 of 2 Page ID
                                     #:72202
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 15-2034JVS(JCGx)                                        Date   Nov. 12, 2020
 Title             Natural-Immunogenics Corp. v. Newport Trial Group, et al


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Knowles and Reid’s Motion for
                        Judgment on the Pleadings (Dkt. No. 1057)

       Defendants Victoria C. Knowles (“Knowles”) and David Reid (“Reid”) moved for
partial judgment on the pleadings against Plaintiff Natural-Immunogenics Corporation’s
(“NIC”) Racketeer Influenced and Corrupt Organizations Act (“RICO”) and California
Unfair Competition Law (“UCL”) claims against them. Dkt. No. 1057. NIC opposed the
motion. Dkt. No. 1059.

      In its Tentative Order, the Court denied Knowles and Reid’s request for judgment
as a matter of law on NIC’s RICO claim. Knowles and Reid then filed a request for a
hearing (Dkt. No. 1070), specifically on the following three issues: the effect of Federal
Rule of Civil Procedure 9(b) on the Court’s Tentative Order, the role of reliance and
causation of damages in a RICO case, and finally, that the Tentative Order would
mistakenly allow NIC to pursue RICO claims against Knowles and Reid based on two
separate schemes that causes no damages to NIC. See generally, Dkt. No. 1070.

        While the Court does not believe a hearing to be necessary at this time, the Court
still requests each party to file a brief of no more than five pages regarding the first issue,
namely, the effect of F.R.C.P. 9(b) and Rouse v. United States Dep’t of State, 567 F.3d
408 (9th Cir. 2009), on the Court’s Tentative Order, by November 19, 2020, at 5:00 p.m.



                    IT IS SO ORDERED.


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